Case 20-10940-LSS   Doc 725-3   Filed 12/20/21   Page 1 of 20




                     EXHIBIT 3
                        Case
                         Case20-10940-LSS
                              20-10940-LSS Doc
                                            Doc725-3
                                                453 Filed
                                                     Filed 10/05/20
                                                           12/20/21 Page
                                                                    Page 12 of
                                                                            of 320




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE
         ----------------------------------------------------------x
                                                                   :
         In re                                                     : Chapter 11
                                                                   :
         ALPHA ENTERTAINMENT LLC,                                  : Case No. 20-10940 (LSS)
                                                                   :
                           Debtor.   1                             : Ref. Docket Nos. 55, 181, 358 & 438
         ----------------------------------------------------------x

             ORDER APPROVING THE ASSUMPTION AND ASSIGNMENT OF A CERTAIN
                 EXECUTORY CONTRACT AND GRANTING RELATED RELIEF

                  Pursuant to that certain Order (I) Approving and Authorizing the Sale of Certain of the

         Debtor’s Assets Free and Clear of All Encumbrances, (II) Authorizing the Assumption and

         Assignment of Certain Executory Contracts and Unexpired Leases, and (III) Granting Related

         Relief [D.I. 358] (the “Sale Order”); and upon consideration of the certification of counsel

         submitted by the Debtor in connection herewith [Docket No. 438] (the “Certification of

         Counsel”);2 and the Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

         1334 and the Amended Standing Order of Reference of the United States District Court for the

         District of Delaware, dated February 29, 2012; and this being a core proceeding pursuant to 28

         U.S.C. § 157(b)(2); and due and proper notice of the relief requested by the Debtor in the

         Certification of Counsel having been given under the particular circumstances, and it appearing

         that no other or further notice need be provided; and Alpha Opco, LLC (the “Buyer”) having

         requested that the Debtor assume and assign to the Buyer, pursuant to the Sale Order and the APA,

         that certain Consulting and Support Services Agreement, dated April 3, 2018, by and between the




         1
          The last four digits of the Debtor’s federal tax identification number, is 7778. The Debtor’s mailing address is 1266
         East Main St., Stamford, CT 06902.
         2
           Capitalized terms used but not otherwise defined herein shall have the meanings given to such terms in the
         Certification of Counsel.
27032182.2
                       Case
                        Case20-10940-LSS
                             20-10940-LSS Doc
                                           Doc725-3
                                               453 Filed
                                                    Filed 10/05/20
                                                          12/20/21 Page
                                                                   Page 23 of
                                                                           of 320




         Debtor and World Wrestling Entertainment, LLC (“WWE”) and such agreement, (the “Services

         Agreement”), as amended and restated pursuant to that certain Amended and Restated Consulting

         and Support Services Agreement between the Debtor and WWE (the “Assigned Contract”), a copy

         of which is attached hereto as Exhibit 1; and WWE and the Buyer having consented to the entry

         of this Order and the relief granted herein; and upon the representations of the Debtor in the

         Certification of Counsel; and after due deliberation and sufficient cause appearing therefor, it is

         hereby

                  ORDERED, ADJUDGED, AND DECREED THAT:

                  1.    The Debtor is hereby authorized to enter into the Amended and Restated Services

         Agreement, in substantially the form attached hereto as Exhibit 1, and to take any and all actions

         necessary and appropriate in connection therewith.

                  2.    In accordance with the terms of the Sale Order, the assumption and assignment of

         the Assigned Contract is hereby approved, as set forth herein, and the Debtor is authorized to

         assume and assign the Assigned Contract to the Buyer pursuant to sections 105(a), 363, and 365

         of the Bankruptcy Code.

                  3.    The cure amount (the “Cure Amount”) required to be paid under section 365(b) of

         the Bankruptcy Code in connection with the assumption and assignment of the Assigned Contract

         shall be $25,000. Unless the Buyer and WWE agree to different terms, the Buyer shall pay to

         WWE, as applicable, the Cure Amount within ten (10) business days of the entry of this Order.

         WWE shall be forever barred from asserting any additional Cure Amount or other claims arising

         prior to the date hereof with respect to such Assigned Contract, and the payment of such Cure

         Amount shall effect a cure of all defaults and shall compensate for any actual pecuniary loss to

         WWE from any such defaults.


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                                                         2
                      Case
                       Case20-10940-LSS
                            20-10940-LSS Doc
                                          Doc725-3
                                              453 Filed
                                                   Filed 10/05/20
                                                         12/20/21 Page
                                                                  Page 34 of
                                                                          of 320




                4.      The Buyer has provided adequate assurance of its future performance under the

         Assigned Contract within the meaning of sections 365(b)(1)(C), 365(b)(3) (to the extent

         applicable), and 365(f)(2)(B) of the Bankruptcy Code.

                5.      Except to the extent expressly set forth herein, nothing in this Order is intended to

         amend, supersede, or modify the Sale Order or the APA. The Assigned Contract shall be an

         “Assigned Contract” for all purposes under the Sale Order, and except as expressly modified

         herein, all provisions of the Sale Order and the APA relating to Assigned Contract shall be

         applicable to the Assigned Contract.

                6.      Effective as of the Effective Date, (i) the Buyer shall be, and hereby is, deemed to

         be substituted for the Debtor as a party to the Assigned Contract, and (ii) the Debtor and its

         bankruptcy estate shall be, and hereby are, relieved, pursuant to section 365(k) of the Bankruptcy

         Code, from any further liability under the Assigned Contract.

                7.      The Debtor is authorized to take all actions and execute all documents necessary or

         appropriate to effectuate the assumption and assignment of the Assigned Contract to the Buyer

         consistent with this Order, the Sale Order, and the APA.

                8.      The terms and conditions of this Order shall be immediately effective and

         enforceable upon its entry and not subject to any stay.

                9.      This Court shall retain exclusive jurisdiction and power over any and all matters

         arising from or related to this Order.




                                                              LAURIE SELBER SILVERSTEIN
27032182.2     Dated: October 5th, 2020                       UNITED STATES BANKRUPTCY JUDGE
               Wilmington, Delaware

                                                          3
             Case 20-10940-LSS   Doc 725-3
                                     453-1   Filed 12/20/21
                                                   10/05/20   Page 5
                                                                   1 of 20
                                                                        16




                                    EXHIBIT 1

                      Amended and Restated Services Agreement




27032182.2
            Case 20-10940-LSS          Doc 725-3
                                           453-1      Filed 12/20/21
                                                            10/05/20     Page 6
                                                                              2 of 20
                                                                                   16




        AMENDED AND RESTATED CONSULTING AND SUPPORT SERVICES
                            AGREEMENT

      THIS AMENDED AND RESTATED CONSULTING AND SUPPORT SERVICES
AGREEMENT (this “Agreement”) is entered into as of [•], 2020 (the “Effective Date”) by and
between ALPHA ENTERTAINMENT, LLC, a Delaware limited liability company (“ALPHA”),
and WORLD WRESTLING ENTERTAINMENT, INC., a Delaware corporation (“WWE”).

                                         WITNESSETH:

      WHEREAS, ALPHA and WWE previously entered into that certain Consulting and
Support Services Agreement dated as of April 3, 2018 (the “Current Agreement”).

       WHEREAS, ALPHA commenced a voluntary case for reorganization under title 11 of the
United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) on April 13, 2020 (the
“Bankruptcy Case”).

        WHEREAS, pursuant to that certain Asset Purchase Agreement, dated as of August 17,
2020 (as amended, restated, modified or supplemented from time to time, the “Asset Purchase
Agreement”), Alpha Opco, LLC (“Alpha Opco”) acquired substantially all of the assets of
ALPHA, including all of ALPHA’s rights under the Current Agreement, pursuant to sections 105,
363, and 365 of the Bankruptcy Code (the “Acquisition”). Capitalized terms used but not defined
herein shall have the meaning set forth in the Asset Purchase Agreement.

      WHEREAS, at a sale hearing on August 7, 2020, the Bankruptcy Court entered an order
[Docket No. 358] (the “Sale Order”) approving the Acquisition.

       WHEREAS, ALPHA seeks to assume and assign certain executory contracts, including
the Current Agreement, to Alpha Opco, in accordance with the Asset Purchase Agreement, the
approved bidding procedures in connection with the sale of ALPHA’s assets, and the Sale Order.

       WHEREAS, the cure amount (the “Cure Cost”) required to be paid to WWE under the
terms of the Current Agreement in order to assume the Current Agreement is $203,424.65.

        WHEREAS, pursuant to Section 2.5 of the Asset Purchase Agreement, Alpha Opco
designated the Current Agreement as a Designation Right Asset and as a result Alpha Opco has
the right to treat the Current Agreement as a Purchased Asset or an Excluded Asset at any time
during the Designation Rights Period upon written notice to ALPHA.

        WHEREAS, ALPHA and Alpha Opco believe that WWE’s ongoing provision of services
for a period of at least six months from the Effective Date will provide significant value, and Alpha
Opco seeks to treat this Agreement as a Purchased Asset provided that WWE will agree to the
amendment of certain terms of the Current Agreement and WWE’s agreement that the Cure Cost
in respect of this Agreement will be $25,000; and WWE has agreed to such terms.

       WHEREAS, the parties desire to enter into this Agreement in order to amend and restate
the Current Agreement on terms that are satisfactory to Alpha Opco, subject to the assumption of
             Case 20-10940-LSS          Doc 725-3
                                            453-1     Filed 12/20/21
                                                            10/05/20      Page 7
                                                                               3 of 20
                                                                                    16




this Agreement by ALPHA and the assignment thereof to Alpha Opco in accordance with the terms
of the Asset Purchase Agreement and the Sale Order.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements set forth
below, and for other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, the parties hereby agree as follows:

                        ARTICLE I. EFFECTIVENESS; CURE COST

SECTION 1.1.           Effectiveness.

This Agreement shall become effective and binding upon the parties hereto immediately prior to
the assumption of this Agreement by ALPHA and the assignment thereof to Alpha Opco in
accordance with the terms of the Purchase Agreement and the Sale Order.

SECTION 1.2.           Cure Cost.

As a condition to the assumption and assignment of this Agreement to Alpha Opco in connection
with the Acquisition, WWE hereby agrees that the Cure Cost in respect of this Agreement shall be
$25,000, which shall be paid by Alpha Opco as provided in the Purchase Agreement and the Sale
Order within ten business days of the Effective Date. Except as expressly provided herein, WWE
agrees that Alpha Opco shall not be responsible for any other Cure Costs, and all such Cure Costs
are waived by WWE. Alpha Opco shall not be required to provide any further adequate assurances
of future performance to WWE in connection with the assumption and assignment of this
Agreement to Alpha Opco.

                      ARTICLE II. SERVICES AND COMPENSATION

SECTION 2.1.           Provision of Services.

WWE shall provide (or cause to be provided) to ALPHA each of the services set forth in Exhibit A
(the “Transition Services”) and Exhibit B (the “Specified Services” and, together with the
Transition Services, the “Services”) until the earlier of the following to occur, with respect to each
such Service, (i) expiration or earlier termination of the Term (as defined below) and (ii) the date
on which such Service or this Agreement shall have been terminated in accordance with Section
3.2. If ALPHA requests that WWE provide a Service following the expiration of the Term, the
parties shall negotiate in good faith to determine mutually acceptable terms and conditions upon
which such Service would be provided following the expiration of the Term, but WWE shall have
no obligation to provide such Service. WWE shall provide separate bi-weekly reports to ALPHA
with respect to (x) the Transition Services and (y) the Specified Services, in each case listing the
Services that WWE has provided to ALPHA during the prior two weeks and, where applicable,
the number of hours worked in connection with the performance of such Services.

SECTION 2.2.           Fees For Services.

The fees for the Services set forth in Exhibit A will be calculated by WWE to compensate it for
the allocable “fully loaded” costs of employees’ and executives’ time (excluding cash and equity
bonus compensation) plus an agreed applicable margin of fifteen percent (15%). In addition,
                                                 2
            Case 20-10940-LSS          Doc 725-3
                                           453-1      Filed 12/20/21
                                                            10/05/20     Page 8
                                                                              4 of 20
                                                                                   16




ALPHA shall directly pay (rather than WWE paying and being reimbursed for) any reasonable,
documented out-of-pocket expenses relating to the Services. If WWE inadvertently or otherwise
pays any such costs, ALPHA shall immediately reimburse WWE upon its receipt of an invoice
therefor.

SECTION 2.3.           Payment by ALPHA.

WWE shall submit itemized accountings and separate invoices to ALPHA with respect to the
Transition Services and the Specified Services setting forth all amounts due to WWE on a bi-
weekly basis. ALPHA shall pay all non-disputed amount(s) invoiced by WWE within thirty
(30) days following ALPHA’s receipt of the same; provided, that ALPHA may, acting reasonably
and in good faith, dispute any amount(s) included in an invoice in accordance with the last sentence
of this Section 2.3. All payments required to be made pursuant to this Agreement which are not
disputed in good faith and are not paid when due and owing shall bear interest at an annualized
rate of eighteen percent (18%). In the event that ALPHA disputes any amount included in an
invoice from WWE, ALPHA shall promptly provide written notice thereof to WWE (in a manner
to reasonably identify and detail the specific amount(s) in dispute) and the parties shall consult in
good faith to promptly resolve such dispute; any amounts so disputed and subsequently resolved
shall be promptly paid by ALPHA, without any interest thereon, following the resolution of such
dispute or, upon the mutual agreement of the parties, included in the next monthly invoice
submitted by WWE.

                     ARTICLE III.            TERM AND TERMINATION

SECTION 3.1.           Term.

The term of this Agreement shall commence on the Effective Date and shall terminate upon the
earlier of the six (6)-month anniversary of the Effective Date or the termination of this Agreement
pursuant to Section 3.2 (the “Term”).

SECTION 3.2.           Termination.

ALPHA may, in its sole and absolute discretion, terminate one or more Services specified on
Exhibit A prior to the expiration of the Term upon ten (10) days prior written notice to WWE,
which notice shall specify the Service(s) to be terminated and the date of termination.
Notwithstanding the foregoing sentence, ALPHA may not terminate the Specified Services prior
to the expiration of the Term without WWE’s written consent unless and to the extent Alpha
Entertainment, LLC has dissolved or consummates a plan of liquidation, or the Bankruptcy Case
is dismissed or is converted under Chapter 7 of the Bankruptcy Code. This Agreement may be
terminated with immediate effect as follows: (a) at any time upon the mutual written agreement
of the parties, which agreement must state the effective date of termination; (b) by ALPHA upon
thirty (30) days prior written notice to WWE; or (c) by either party when the non-terminating party
is in material breach of any of its obligations under this Agreement and has failed to remedy such
breach within thirty (30) days (or, in the case of a payment default, within ten (10) days), after
receipt of written notice thereof from the non-breaching party. Following the expiration or
termination of any Service, ALPHA shall not be liable for any additional fees for such Service
provided, however, that WWE shall, and shall cause its applicable affiliates to, cooperate
                                                 3
            Case 20-10940-LSS         Doc 725-3
                                          453-1     Filed 12/20/21
                                                          10/05/20     Page 9
                                                                            5 of 20
                                                                                 16




reasonably with ALPHA (upon ALPHA’s reasonable request) to enable ALPHA to transition the
provision of the Services to ALPHA’s internal business operations or make alternative
arrangements for the provision of services substantially consistent with the Services that expired
or were terminated, and ALPHA shall be responsible to compensate WWE for such transition
services on the same terms and conditions as set forth above. Unless this Agreement has been
terminated by ALPHA for WWE’s material breach pursuant to clause (c) of this Section 3.2,
ALPHA agrees to pay WWE compensation due for Services actually rendered as of the effective
date of any termination of this Agreement or any Service specified on Exhibit A, and for such
transition services requested by ALPHA beyond the termination date of such Services, and such
amounts shall be in full satisfaction of any obligation or liability of ALPHA to WWE for payments
due to WWE with respect to any Services so terminated.

                 ARTICLE IV.            RELATIONSHIP OF THE PARTIES

SECTION 4.1.          No Transfer of Assets.

WWE has not granted, licensed or assigned in any manner to ALPHA any of WWE’s intellectual
property such as, without limitation, its copyrights (including without limitation, television
programming), logos, trademarks, tradenames, etc., except as provided in that certain Contribution
Agreement, dated April 3, 2018, between WWE and ALPHA. Subject to Section 4.5, all
procedures, methods, systems, strategies, tools, equipment, facilities and other resources or
intellectual property of any nature owned by WWE or any of its affiliates in connection with the
provision of Services hereunder which are the property of WWE or its affiliates will remain the
property of WWE and its affiliates and will at all times be under the sole direction and control of
WWE and its affiliates. The disclosure or sharing of Confidential Information or Trade Secrets by
either party in the performance of this Agreement shall not be deemed to effect a transfer of any
rights in or to such Confidential Information or Trade Secrets.

SECTION 4.2.          Scope of Services.

WWE undertakes to provide the Services hereunder with the same degree of care and diligence,
and using the same procedures and policies, it uses in providing such services for its own
operations. WWE shall endeavor to assign sufficient resources and qualified personnel to provide
the Services; provided, that WWE shall not be obligated to provide Services hereunder if and to
the extent that WWE determines that the provision of such Services reasonably could be expected
to interfere with the ordinary course business operations of WWE; provided, further, that in the
event WWE so determines to suspend, in whole or in part, provision of any Service pursuant to
the immediately preceding sentence, WWE shall provide ALPHA with written notice thereof and
the parties shall reasonably cooperate and discuss in good faith the implementation of suitable
alternative arrangements. WWE may, upon written notice to ALPHA, delay the provision of the
Services or reduce the level of the Services if it determines that providing the Services as
contemplated hereunder reasonably could be expected to interfere with the ordinary course
business operations of WWE.

SECTION 4.3.          Indemnification; Limitations on Liability.



                                                4
     Case
     Case20-10940-LSS
          20-10940-LSS Doc
                       Doc725-3
                           453-1 Filed
                                 Filed12/20/21
                                       10/05/20 Page
                                                Page10
                                                     6 of
                                                       of16
                                                          20




a)     ALPHA shall indemnify and hold WWE and its directors, officers, employees,
       affiliates, agents and representatives (collectively, “Indemnified Parties”) harmless
       from any and all claims (including third party claims, whether or not WWE or any
       such persons are named in such third party claim), liabilities, judgments, losses,
       costs, damages and expenses (including reasonable attorneys’ fees and costs of
       investigation) (collectively, “Costs”) arising from any threatened or pending
       investigation, lawsuit, action, claim, proceeding, or dispute, which arises as a result
       of the performance or non-performance of the Services (each, a “Claim”); provided,
       that ALPHA, its employees and agents shall not be responsible for any Costs to the
       extent they arise solely from the gross negligence or willful misconduct of WWE
       hereunder.

b)     WWE will promptly notify ALPHA once it learns of any Claim. Should any Claim
       be formally instituted against an Indemnified Party, ALPHA shall have the right to
       participate therein with counsel chosen by it and, to the extent that it may wish, to
       assume the defense of the Claim, with counsel reasonably satisfactory to WWE.
       Even if ALPHA assumes the defense of a Claim, the Indemnified Parties will have
       the right to participate in such Claim and to retain their own counsel at their own
       cost and expense. However, ALPHA will be required to pay all reasonable and
       documented fees and expenses of such counsel as they are incurred if: (i) WWE or
       such Indemnified Party has been advised by such counsel that there may be legal
       defenses available which are in conflict with or are materially different from or
       additional to defenses to ALPHA, (ii) ALPHA shall not have assumed the defense
       of the Claim and employed counsel reasonably satisfactory to the Indemnified
       Parties in a timely manner or (iii) ALPHA shall have authorized the employment
       of such counsel in connection with the defense of the Claim.

c)     If any indemnification sought by the Indemnified Parties pursuant to the terms
       hereof is held by a court of competent jurisdiction to be unavailable for any reason
       or insufficient to hold the Indemnified Parties harmless, then ALPHA will
       contribute to the Costs for which such indemnification is held unavailable or
       insufficient in such proportion as is appropriate to reflect the relative benefits to
       ALPHA, as compared to the relative benefits to WWE, or if such allocation is not
       permitted by applicable law, then in such proportion as is appropriate to reflect not
       only the relative benefits, but also the relative fault of ALPHA as compared to
       WWE.

d)     The indemnification provisions of this Section 4.3 shall: (i) remain operative and
       in full force and effect regardless of the termination of this Agreement; (ii) inure to
       the benefit of the successors, assigns, heirs, or personal representative of any
       Indemnified Party; (iii) be in addition to any other rights the Indemnified Parties
       may have at common law or otherwise; and (iv) apply to activities in connection
       herewith prior to this date and after any amendment, modification or future addition
       to the Agreement.

e)     The Indemnified Parties shall not have any liability hereunder except to the extent
       arising directly from the gross negligence or willful misconduct of such persons, as
                                         5
            Case
            Case20-10940-LSS
                 20-10940-LSS Doc
                              Doc725-3
                                  453-1 Filed
                                        Filed12/20/21
                                              10/05/20 Page
                                                       Page11
                                                            7 of
                                                              of16
                                                                 20




               determined by a court of competent jurisdiction. In no event shall WWE be liable
               for any loss of profits or anticipated revenues, loss of business, cost of capital, loss
               of use or of data, loss of goodwill, loss of opportunity, interruption of business, or
               for indirect, special, punitive, exemplary, incidental, consequential or indirect
               damages of any kind, whether under this Agreement or otherwise.

       f)      EXCEPT AS EXPRESSLY SET FORTH IN THIS AGREEMENT, THE
               SERVICES ARE PROVIDED ON AN “AS IS” BASIS, AND WWE DOES NOT
               MAKE ANY REPRESENTATION OR WARRANTY AS TO THE NEED,
               ADEQUACY OR RESULTS OF ANY SERVICES PROVIDED HEREUNDER
               AND HEREBY DISCLAIMS (ON ITS OWN BEHALF AND ON BEHALF OF
               ITS AFFILIATES AND THEIR RESPECTIVE REPRESENTATIVES) ALL
               REPRESENTATIONS AND WARRANTIES, WHETHER EXPRESS, IMPLIED
               OR STATUTORY, WITH RESPECT TO ITS PERFORMANCE UNDER THIS
               AGREEMENT, INCLUDING ANY WARRANTY OF ADEQUACY,
               MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE.
               EXCEPT AS EXPRESSLY PROVIDED IN THIS AGREEMENT, WWE’S SOLE
               AND EXCLUSIVE RESPONSIBILITY TO ALPHA AND ITS SUBSIDIARIES
               (IF ANY), AND THEIR RESPECTIVE SUCCESSORS AND ASSIGNS, FOR
               ERRORS OR OMISSIONS IN THE SERVICES SHALL BE TO FURNISH
               CORRECT INFORMATION OR RE-PERFORM THE RELEVANT SERVICES.

SECTION 4.4.           Independent Contractor.

WWE shall at all times be, and be deemed to be; an independent contractor and nothing contained
herein shall make WWE an employee, agent or partner of ALPHA in any manner whatsoever and
neither party will act or represent or hold itself out as having authority to act as an agent or partner
of the other party. Accordingly, ALPHA shall not have any right or obligation to withhold any
monies for any taxes, insurance, social security payments or other contributions or payments for
the benefit of WWE, or to provide WWE any workers’ compensation, disability or other similar
insurance coverages. Neither party has any authority to bind the other party to any contract,
agreement or other legally binding documents.

SECTION 4.5.           Intellectual Property.

WWE acknowledges that any and all rights, products or materials derived from any of ALPHA’s
intellectual property and/or the Services rendered by WWE hereunder (the “Work”), shall
constitute a “work made for hire” under the copyright laws of the United States or any other
applicable law and ALPHA shall own any and all right, title and interest derived from the results
and proceeds of the Work, in perpetuity, including without limitation, any copyright, trademark
and patent resulting therefrom, any marketing and/or promotional rights. If, under any applicable
law, the fact that “work made for hire” is not effective to place full authorship and ownership in
ALPHA, then to the fullest extent allowable and for the full term of protection otherwise accorded
to ALPHA under such applicable law, WWE hereby irrevocably and exclusively grants and
assigns to ALPHA and its successors and assigns throughout the universe, in perpetuity, all right,
title and interest of every kind or nature in and to the Work. WWE hereby assigns and transfers

                                                   6
            Case
            Case20-10940-LSS
                 20-10940-LSS Doc
                              Doc725-3
                                  453-1 Filed
                                        Filed12/20/21
                                              10/05/20 Page
                                                       Page12
                                                            8 of
                                                              of16
                                                                 20




to ALPHA all of the foregoing, without reservation, condition or limitation and no right of any
kind, nature or description is reserved by WWE.

SECTION 4.6.           Confidentiality.

During the course of the provision of Services hereunder, each party may have access to
Confidential Information. “Confidential Information” as used herein shall mean the terms of this
Agreement and any and all data and information relating to the business of the other party and/or
their respective parents, affiliated or subsidiary operations or relating to their directors or officers
which is disclosed or becomes known as a consequence of or through the relationship
contemplated hereby and which is not generally known in the public or by a party’s competitors.
Included in the foregoing by way of example only and not limitation, are such items as financial
statements, reports, business plans, sales and other like information and/or ideas regarding
contractual relationships and/or the terms thereof. Neither party hereto shall disclose to any person
or entity any Confidential Information at any point during the term hereof or at any time thereafter.
Additionally, the parties agree that each party’s respective trade secrets (“Trade Secrets”) are
absolutely protected as a matter of law and that no disclosure of them will be made at any time.
Trade Secrets are understood to be any plan, process, tool or mechanism known only to a party
and to those employees and agents of a party to whom it must be confided in order to apply it to
the uses intended. Notwithstanding the foregoing, a party’s obligation of confidentiality shall not
include information which (i) at the time of disclosure was in the public domain; (ii) after such
disclosure, becomes generally available to the public other than through any act or omission by a
disclosing party; and (iii) is required to be disclosed by a party any court of competent jurisdiction
or applicable law, rule or regulation, provided that, where practicable, prior written notice of such
disclosure is furnished to the non-disclosing party in a timely manner in order to afford the non-
disclosing party an opportunity to seek a protective order against such disclosure.

SECTION 4.7.           Employees.

Without the advance written consent of WWE, no WWE employee, officer or director shall be
paid compensation by ALPHA in respect of the Services.

                       ARTICLE V. MISCELLANEOUS PROVISIONS

SECTION 5.1.           Notices.

Any and all notices, elections, offers, acceptances and demands permitted or required to be made
under this Agreement shall be in writing, signed by the person giving such notice, election, offer,
acceptance or demand and shall be delivered personally, by facsimile, or sent by a US postal
service or recognized international courier (such as DHL or Federal Express) or by registered or
certified mail, to the party at its facsimile number or address on file with the other party or at such
other facsimile number or address as may be supplied in writing. The date of delivery shall be the
date of such notice, election, offer, acceptance or demand.




                                                   7
            Case
            Case20-10940-LSS
                 20-10940-LSS Doc
                              Doc725-3
                                  453-1 Filed
                                        Filed12/20/21
                                              10/05/20 Page
                                                       Page13
                                                            9 of
                                                              of16
                                                                 20




SECTION 5.2.           Force Majeure.

If the performance of any part of this Agreement by either party or of any obligation under this
Agreement, is prevented, restricted, interfered with, or delayed by reason of any cause beyond the
reasonable control of the party liable to perform, the party so affected shall, on giving written
notice to the other party, be excused from such performance to the extent of such prevention,
restriction, interference or delay and for so long as such prevention, restriction, interference or
delay renders the provision of any Service impossible; provided that the affected party shall
provide prompt written notice of such impediment to the non-affected party and shall use its best
efforts to avoid or remove such causes of nonperformance and shall continue performance with
the utmost dispatch whenever such causes are removed. When such circumstances arise, the
parties shall discuss what, if any, modifications of the terms of this Agreement may be required in
order to arrive at an equitable solution.

SECTION 5.3.           Successors and Assigns.

This Agreement shall be binding on and shall inure to the benefit of the parties and their respective
successors and permitted assigns. Neither party may assign its rights nor delegate its obligations
hereunder without the prior written consent of the other party; provided, however, that ALPHA
intends to assign this Agreement to Alpha Opco, and WWE consents to such assignment on the
terms and conditions set forth herein.

SECTION 5.4.           Amendment.

No change, modification or amendment of this Agreement shall be valid or binding on the parties
unless such change or modification shall be in writing signed by the party or parties against whom
the same is sought to be enforced.

SECTION 5.5.           No Waiver.

The failure of any party to insist on strict performance of a covenant hereunder or of any obligation
hereunder shall not be a waiver of such party’s right to demand strict compliance therewith in the
future, nor shall the same be construed as a novation of this Agreement.

SECTION 5.6.           Captions.

Titles or captions of articles and paragraphs contained in this Agreement are inserted only as a
matter of convenience and for reference, and in no way define, limit, extend, or describe the scope
of this Agreement or the intent of any provision hereof.

SECTION 5.7.           Counterparts.

This Agreement may be executed in multiple copies, each of which shall for all purposes constitute
an Agreement, binding on the parties.




                                                 8
            Case 20-10940-LSS          Doc 725-3
                                           453-1      Filed 12/20/21
                                                            10/05/20    Page 14
                                                                             10 of 20
                                                                                   16




SECTION 5.8.           Applicable Law; Venue.

This Agreement shall be governed by and construed in accordance with the laws of the State of
Connecticut. Any claim, dispute, or other matter in question arising out of or relating in any way
to this Agreement or the performance thereunder (including, without limitation, any claims in law
or equity whether based on torts, contracts or otherwise) shall be resolved in accordance with
Exhibit ADR attached hereto. The provisions contained in this Section 5.8 shall survive the
termination and/or expiration of this Agreement.

SECTION 5.9.           Severability.

In the event any provision or the application thereof in any circumstances, is held to be invalid or
unenforceable, such invalidity or unenforceability shall not affect the validity or enforceability of
the remainder hereof, or of the application of any such provision in any other circumstances.

SECTION 5.10.          No Other Duties.

The only duties and obligations of the parties under this Agreement are as specifically set forth in
this Agreement, and no other duties or obligations shall be implied in fact, law or equity, or under
any principle of fiduciary obligation.

SECTION 5.11.          No Third-Party Beneficiaries.

With the exception of the parties to this Agreement and the Indemnified Parties, there shall exist
no right of any person to claim a beneficial interest in this Agreement or any rights occurring by
virtue of this Agreement.

SECTION 5.12.          Incorporation of Exhibits.

The Exhibits identified in this Agreement are incorporated herein by reference and made a part
hereof as if set out in full in this Agreement. In the event of a conflict between any term of this
Agreement and information contained in the Exhibits to this Agreement, the terms included in this
Agreement shall govern.



                                       [Signature page follows]




                                                  9
           Case 20-10940-LSS      Doc 725-3
                                      453-1    Filed 12/20/21
                                                     10/05/20    Page 15
                                                                      11 of 20
                                                                            16




IN WITNESS WHEREOF, the parties have entered into this Agreement as of the Effective Date.

 WORLD WRESTLING                              ALPHA ENTERTAINMENT, LLC
 ENTERTAINMENT, INC.


 By:                                          By:
 Its Authorized Representative                Its Authorized Representative
 Name: Mark Kowal                             Name:
 Title: Corporate Controller                  Title:
 Date:                                        Date:
        Case 20-10940-LSS       Doc 725-3
                                    453-1     Filed 12/20/21
                                                    10/05/20      Page 16
                                                                       12 of 20
                                                                             16




                                     EXHIBIT A

                             TRANSITION SERVICES


    Functionality                       Service to be Rendered by WWE

                         WWE will co-locate Alpha Opco’s Content Management System
   Avid Content          within its data center during the Term. WWE will coordinate
 Management System       removal of hardware and files with Alpha and provide guidance
                         as requested.
                         Assist with transition of sites and agreements to Alpha Opco
XFL Shop (merchandise)   control. Provide assistance managing sites, inventory and
                         fulfillment.
    IP / Trademarks
                         Transition intellectual property from ALPHA to Alpha Opco.
      Management
                         Movement of XFL assets from WWE warehouse; provide storage
    WWE Storage
                         until new location is available.
                         Dependent on payroll system (ADP) / HR capital management
        Payroll          system (Workday); need to download and store all historical
                         information.
                         Provide assistance as required to remove Alpha Opco assets from
 Facilities Management
                         WWE Storage and/or leased facilities.
                         Customer information download and transition from ALPHA to
 Accounts Receivable
                         new entity.
       Treasury          Cash management, including PayPal transfer support.
 Accounting / Accounts
                         Financial data / historicals; all payable information needed.
       Payable
                         Support Alpha Opco resources with tax registration process in
                         various jurisdictions; work with Alpha Opco to establish
        Taxes
                         appropriate tax processes/procedures (dependent on assets
                         acquisition and responsibility of new entity).
                         All URLs under WWE umbrella account; assist with transition to
    URL ownership
                         Alpha Opco.
                         Oversee mail/package logistics at 1266 East Main Street as
  Logistics/Mailroom     needed, including forwarding services and providing packaging
                         materials as needed.
                         Support ad hoc travel requests until Alpha Opco establishes
        Travel
                         appropriate travel accounts/protocols.
        Case 20-10940-LSS      Doc 725-3
                                   453-1      Filed 12/20/21
                                                    10/05/20    Page 17
                                                                     13 of 20
                                                                           16




    Functionality                      Service to be Rendered by WWE

                        Coordinate required security (moving, office shutdowns, alarms,
       Security
                        etc.).
                        Develop a secured site to download all historical data, need to
Workday (HRIS System)   determine what is needed out of the system. Assist with
                        1094/1095 process as needed.




                                         12
       Case 20-10940-LSS      Doc 725-3
                                  453-1     Filed 12/20/21
                                                  10/05/20     Page 18
                                                                    14 of 20
                                                                          16




                                   EXHIBIT B

                            SPECIFIED SERVICES


   Functionality                      Service to be Rendered by WWE

  Payroll Services     Assistance with certain employee-related matters, including the
                       completion of W-2 and Affordable Care Act forms, 401(k) audit,
                       and responses to inquiries or requests from government agencies
                       and former employees; close payroll related tax IDs with various
                       state agencies.
  Treasury Services    Assistance with the maintenance and closure, as appropriate, of
                       the Debtor’s bank accounts, and oversight and coordination of
                       outgoing payments in conjunction with WWE treasury services
                       personnel.
 Tax & Regulatory      Assistance with tax and regulatory requirements, including the
   Compliance          filing of 2019/2020 income tax returns, sales and use tax filings
                       and the shutdown/deregistration of Alpha tax IDs.
General Accounting &   Assistance with the Debtor’s general accounting function and
     Reporting         preparation of various reports, including month-end financials,
                       balance sheets, profit and loss statements, and cash flow
                       statements.
  Accounts Payable     Coordinating and managing accounts payable, including through
     Processing        the Procure-to-Pay system.
            Case 20-10940-LSS          Doc 725-3
                                           453-1      Filed 12/20/21
                                                            10/05/20      Page 19
                                                                               15 of 20
                                                                                     16




                                           EXHIBIT ADR

                                              Arbitration

                In exchange for the benefits of the speedy, economical and impartial dispute
resolution of arbitration, except as expressly provided in this Exhibit ADR, the Parties, with the
advice and consent of their selected counsel, choose to waive their right to resolution of their
disputes in a court of law by judge or jury, and instead elect to treat their disputes, if any, pursuant
to the JAMS’ Comprehensive Arbitration Rules and Procedures, in accordance with the Expedited
Procedures in those rules, and in accordance with this Exhibit ADR.

       1.      Arbitration.

                (a)    Subject to Section 2 of this Exhibit ADR, the Parties agree that any
controversy, dispute or claim between or involving the Parties or arising out of or relating to this
Agreement will be settled by a confidential, final and binding arbitration in New York, NY
administered by the New York office of JAMS, in accordance with the JAMS Comprehensive
Arbitration Rules and Procedures (the “Comprehensive Arbitration Rules”) in effect at the time
the arbitration is commenced. The Parties further agree that any controversy, dispute or claim
about the enforceability of this Exhibit ADR or whether a controversy, dispute or claim is subject
to this Exhibit ADR shall be resolved by arbitration. The obligation to arbitrate survives this
Agreement.

                 (b)    The Parties desire and agree that any arbitration proceedings shall be
conducted before one arbitrator to be selected pursuant to the Comprehensive Arbitration Rules
(the “Arbitrator”) as expeditiously as possible and acknowledge that expeditious arbitration is in
the interest of the Parties. The Parties agree that the arbitration must be concluded, including the
rendering of any award by the Arbitrator (the “Award”), not more than ninety (90) days following
selection of the Arbitrator. The Parties further agree that the Arbitrator shall have the authority to
impose any interim deadlines, including shortening any deadlines provided in the Comprehensive
Arbitration Rules, to ensure that this ninety (90))-day deadline is met. The Arbitrator must agree
to the foregoing ninety (90) day deadline before accepting appointment. Failure to meet the ninety
(90) day deadline, however, will not render the Award invalid, unenforceable or subject to being
vacated. However, the Parties may mutually agree to modify the ninety (90))-day deadline and, if
they do so, the Arbitrator shall accommodate the Parties’ mutual agreement. The Arbitrator shall
have no power to alter or disregard any express language in the Agreement and may not reform
the Agreement under equitable or other principles. The Parties will be responsible for their own
legal fees, costs and expenses incurred during or in connection with the arbitration.

               (c)     The Parties shall maintain the confidential nature of the arbitration
proceeding, except as may be necessary in connection with a court application for a provisional or
preliminary remedy, a court action to challenge or enforce the Award, or as otherwise required by
law or judicial decision. The Parties further agree that the Arbitrator shall render the Award in
writing and explain the decision which, to the extent possible, shall not include confidential
information.
            Case 20-10940-LSS        Doc 725-3
                                         453-1       Filed 12/20/21
                                                           10/05/20    Page 20
                                                                            16 of 20
                                                                                  16




               (d)    The Parties waive to the fullest extent permitted by law any rights to appeal
or to review of the Award by any court or tribunal.

             (e)   For the avoidance of doubt, in the event of a conflict between this Exhibit
ADR and the Comprehensive Arbitration Rules, this Exhibit ADR controls.




                                                15
